
35 N.Y.2d 944 (1974)
The People of the State of New York, Respondent,
v.
Wilbert Wright, Appellant.
Court of Appeals of the State of New York.
Argued December 16, 1974.
Decided December 20, 1974.
Robert A. Naidus and William E. Hellerstein for appellant.
Richard H. Kuh, District Attorney (T. James Bryan and Lewis R. Friedman of counsel), for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, RABIN and STEVENS.
Order affirmed on the opinion by Mr. Justice IRWIN D. DAVIDSON at Trial Term.
